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   Via ECF
   Honorable Edgardo Ramos
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007
                                                                                 December 22, 2022


          Re:     Jovan Campbell v. Fischer & Wieser Specialty Foods, Inc., 22-9791-ER

   Dear Judge Ramos:

           Plaintiff’s Counsel submits this letter-motion on behalf of the Defendant, who is seeking
   an extension of time to respond to the Complaint. Counsel has been in touch with Defendant’s
   attorney in Austin, Texas, who is not admitted in the District. As such, Defendant is requesting an
   additional 30 days to respond for the Parties to discuss an early resolution, and to possibly hire
   local counsel. The current deadline is December 27, 2022, and Defendant is seeking an extension
   to respond up to and until January 27, 2023. This is the first time this relief is being sought and
   both Parties consent.

          Plaintiff thanks the Court for its attention herein.


                                                                 Respectfully and sincerely,

                                                                 /s/ Mars Khaimov, Esq.
